     Case 5:22-cv-03600-PCP Document 37-1 Filed 09/02/22 Page 1 of 3




     THE ROSEN LAW FIRM, P.A.
 1   Laurence M. Rosen, Esq. (SBN 219683)
 2   Pronouns: he/him/his
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 3   Los Angeles, CA 90071
     Telephone: (213) 785-2610
 4   Facsimile: (213) 226-4684
 5   Email: lrosen@rosenlegal.com

 6   Counsel for Movant and [Proposed]
     Lead Counsel for the Class
 7
 8
                              UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
10     NICK PATTERSON, Individually and on        )   Case No. 22-cv-03600-TLT
11     Behalf of All Others Similarly Situated,   )
                                                  )   DECLARATION OF LAURENCE
12             Plaintiff,                         )   M. ROSEN IN SUPPORT OF
                                                  )   MEMORANDUM OF LAW OF
13             v.                                 )   MOVANT MICHAEL TOBIAS IN
14                                                )   OPPOSITION TO COMPETING
       TERRAFORM LABS, PTE. LTD., JUMP            )   LEAD PLAINTIFF MOTIONS
15     CRYPTO, JUMP TRADING LLC,                  )
       REPUBLIC CAPITAL, REPUBLIC                 )   CLASS ACTION
16     MAXIMAL LLC, TRIBE CAPITAL,                )
17     DEFINANCE CAPITAL/DEFINANCE                )   Judge: Trina L. Thompson
       TECHNOLOGIES OY, GSR/GSR                   )   Hearing: October 11, 2022
18     MARKETS LIMITED, THREE ARROWS              )   Time: 2:00 PM
       CAPITAL PTE. LTD., NICHOLAS                )   Ctrm: 9 – 19th Floor (San Francisco)
19     PLATIAS, and DO KWON,                      )
                                                  )
20
               Defendants.                        )
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29   DECLARATION OF LAURENCE M. ROSEN IN SUPPORT OF MEMORANDUM OF LAW
     OF MOVANT MICHAEL TOBIAS IN OPPOSITION TO COMPETING LEAD PLAINTIFF
30                        MOTIONS – 22-cv-03600-TLT
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      Case 5:22-cv-03600-PCP Document 37-1 Filed 09/02/22 Page 2 of 3




 1   I, Laurence M. Rosen, declare:

 2          1.      I am an attorney duly licensed to practice in the State of California and before

 3   this Court. I am the managing partner of The Rosen Law Firm, P.A., attorneys for Movant

 4   Michael Tobias (“Movant”). I make this declaration in support of Movant’s Memorandum of

 5   Law in Opposition to Competing Lead Plaintiff Motions. I have personal knowledge of the

 6   matters stated herein and if called as a witness, I could and would competently testify thereto.

 7          2.      Attached hereto are true and correct copies of the following documents:

 8                  Exhibit A:     Crypto Leaks Report entitled “Ava Labs (Avalanche) attacks

 9                                 Solana & cons SEC in evil conspiracy with bought law firm,

10                                 Roche Freedman” as updated August 31, 2022 and retrieved

11                                 September 2, 2022;

12                  Exhibit B:     Letter Response to Kyle Roche’s motion for withdrawal in In re
                                   Tether and Bitfinex Crypto Asset Litigation, case no. 1:19-cv-
13
                                   09236-KPF, by BFXNA Inc., BFXWW Inc., Giancarlo Devasini,
14
                                   DigFinex Inc., Tether Holdings Limited, Tether International
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                                   Limited, Tether Limited, Tether Operations Limited, iFinex Inc.,
16
                                   and Ludovicus Jan van der Velde; and
17
                    Exhibit C:     Letter Response to Kyle Roche’s motion for withdrawal in In re
18
                                   Tether and Bitfinex Crypto Asset Litigation, case no. 1:19-cv-
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                                   09236-KPF, by Bittrex, Inc. and Poloniex, LLC.
20
            I declare under penalty of perjury under the laws of the State of California and the United
21
     States of America that the foregoing is true and correct.
22
23   Executed this 2nd of September 2022.

24                                         THE ROSEN LAW FIRM, P.A.
25                                         /s/ Laurence M. Rosen
26                                         Laurence M. Rosen, Esq. (SBN #219683)

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29   DECLARATION OF LAURENCE M. ROSEN IN SUPPORT OF MEMORANDUM OF LAW
     OF MOVANT MICHAEL TOBIAS IN OPPOSITION TO COMPETING LEAD PLAINTIFF
30                        MOTIONS – 22-cv-03600-TLT
31
      Case 5:22-cv-03600-PCP Document 37-1 Filed 09/02/22 Page 3 of 3




                                         PROOF OF SERVICE
 1
            I, Laurence M. Rosen, hereby declare under penalty of perjury as follows:
 2
            I am the managing attorney of The Rosen Law Firm, P.A., with offices at 355 South
 3
     Grand Avenue, Suite 2450, Los Angeles, CA 90071. I am over the age of eighteen.
 4
            On September 2, 2022, I electronically filed the following DECLARATION OF
 5
     LAURENCE M. ROSEN IN SUPPORT OF MEMORANDUM OF LAW OF MOVANT
 6
     MICHAEL TOBIAS IN OPPOSITION TO COMPETING LEAD PLAINTIFF
 7
     MOTIONS with the Clerk of the Court using the CM/ECF system which sent notification of
 8
     such filing to counsel of record.
 9
            Executed on September 2, 2022.
10
11                                       /s/ Laurence M. Rosen
12                                         Laurence M. Rosen

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29   DECLARATION OF LAURENCE M. ROSEN IN SUPPORT OF MEMORANDUM OF LAW
     OF MOVANT MICHAEL TOBIAS IN OPPOSITION TO COMPETING LEAD PLAINTIFF
30                        MOTIONS – 22-cv-03600-TLT
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